976 F.2d 728
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES OF AMERICA, Plaintiff-Appellee,v.Charles A. FRIEND, III, Defendant-Appellant.
    No. 92-6520.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  July 31, 1992Decided:  September 30, 1992
    
      Appeal from the United States District Court for the District of South Carolina, at Charleston.  Falcon B. Hawkins, Chief District Judge.  (CR-85-208, CR-85-226)
      Charles A. Friend, III, Appellant Pro Se.
      Robert Claude Jendron, Jr., Assistant United States Attorney, Columbia, South Carolina, for Appellee.
      D.S.C.
      AFFIRMED.
      Before SPROUSE and NIEMEYER, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    OPINION
    
      1
      Charles A. Friend III appeals from the district court's order refusing relief under 28 U.S.C. § 2255 (1988).  Our review of the record and the district court's opinion accepting the recommendation of the magistrate judge discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  United States v. Friend, Nos.  CR-85-208, CR-85-226 (D.S.C. Apr. 17, 1992).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    